       Case 1:21-cr-00292-RCL Document 160-1 Filed 09/14/22 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                           )
                                                    )
       v.                                           )
                                                    )        Case No. 1:21-CR-292 -RCL-1
                                                    )
CHRISTOPHER WORRELL                                 )
                                                    )
                              Defendant.            )
                                                    )


                                             ORDER

       This Court, having considered the Motion for Pro Hac Vice Admission of Joseph

William Allen and good cause having been shown, it is this                 day of

              , 2022,

       ORDERED that the Motion for Pro Hac Vice Admission is GRANTED; and it is

       FURTHER ORDERED that Joseph William Allen shall be permitted to appear and be

       heard on behalf of the Defendant in the above-captioned matter without the presence of

       local counsel. Furthermore, Joseph William Allen is permitted to execute all pleadings in

       this case without the necessity of Attorney Allen H. Orenberg being required to also

       execute all pleadings in this case.

       SO ORDERED.

                                      _____________________________
                                      United States District Judge
